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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                 §
In re:                                           § Chapter 7
                                                 §
ALEXANDER E. JONES,                              § Case No. 22-33553 (CML)
                                                 §
                Debtor.                          §
                                                 §
                                                 §

             NOTICE OF HYBRID STATUS CONFERENCE ON
TRUSTEE’S EXPEDITED MOTION FOR ENTRY OF AN ORDER IN FURTHERANCE
        OF THE SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC
                     [Relates to Docket No. 859, 915]

         PLEASE TAKE NOTICE that on November 18, 2024, Christopher R. Murray, Chapter 7

Trustee for the bankruptcy estate of Alexander E. Jones (the “Trustee”) filed an Expedited Motion

for Entry of an Order in Furtherance of the Sale of Assets of Free Speech Systems, LLC [Docket

No. 915] (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that a status conference on the Motion is

scheduled for November 25, 2024, at 2:00 p.m. (prevailing Central Time) before Judge

Christopher M. Lopez in Courtroom 401, 515 Rusk, Houston, TX 77002.

         You may participate in the hearing either in person or by an audio and video connection.

Audio communication will be by use of the Court’s dial-in facility. You may access the facility at

(832) 917-1510. Once connected, you will be asked to enter the conference room number. Judge

Lopez’s conference room number is 590153. Video communication will be by use of the

GoToMeeting platform. Connect via the free GoToMeeting application or click the link on Judge

Lopez’s homepage. The meeting code is “JudgeLopez”. Click the settings icon in the upper right

corner and enter your name under the personal information setting. Hearing appearances must be



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made electronically in advance of electronic hearings. To make your appearance, click the

“Electronic Appearance” link on Judge Lopez’s homepage. Select the case name, complete the

required fields and click “Submit” to complete your appearance.


Dated: November 20, 2024
Houston, Texas.

                                                   Respectfully submitted,

                                                   By: /s/ Joshua W. Wolfshohl
                                                   Joshua W. Wolfshohl (Bar No. 24038592)
                                                   Michael B. Dearman (Bar No. 24116270)
                                                   Jordan T. Stevens (Bar No. 24106467)
                                                   Kenesha L. Starling (Bar No.24114906)
                                                   Porter Hedges LLP
                                                   1000 Main Street, 36th Floor
                                                   Houston, Texas 77002
                                                   Telephone: (713) 226-6000
                                                   Facsimile: (713) 226-6248
                                                   jwolfshohl@porterhedges.com
                                                   mdearman@porterhedges.com
                                                   jstevens@porterhedges.com
                                                   kstarling@porterhedges.com

                                                   and

                                                   Erin E. Jones (TX 24032478)
                                                   Jones Murray LLP
                                                   602 Sawyer Street, Suite 400
                                                   Houston, Texas 77007
                                                   Telephone: (832) 529-1999
                                                   Fax: (832) 529-3393
                                                   erin@jonesmurray.com

                                                   Counsel for Christopher R. Murray, Chapter
                                                   7 Trustee




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                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a copy of the foregoing document was served on
November 20, 2024 on all parties receiving ECF service in the above-captioned case and by U.S.
First-Class Mail, postage prepaid on the attached service lists.

                                                  /s/ Joshua W. Wolfshohl
                                                  Joshua W. Wolfshohl




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Label Matrix for local noticing                AXOS Bank                           Ally Bank
0541-4                                         c/o Quilling Selander Lownds        c/o Quilling, Selander, et al
Case 22-60043                                  2001 Bryan Street                   2001 Bryan Street
Southern District of Texas                     Suite 1800                          Suite 1800
Houston                                        Dallas, TX 75201-3070               Dallas, TX 75201-3070
Fri Aug 16 12:29:57 CDT 2024
Ally Bank, c/o AIS Portfolio Services, LLC     American Express National Bank      Elevated Solutions Group, LLC
4515 N Santa Fe Ave. Dept. APS                 c/o Becket and Lee LLP              c/o Walker & Patterson, P.C.
Oklahoma City, OK 73118-7901                   PO Box 3001                         P.O. Box 61301
                                               Malvern, PA 19355-0701              Houston, TX 77208-1301


Free Speech Systems LLC                        Harold Hap May P.C.                 Official Committee of Unsecured Creditors of
3019 Alvin Devane Blvd. STE 300                1500 S. Dairy Ashford Rd.           c/o Marty L. Brimmage, Jr.
Austin, TX 78741-7417                          Ste. 325                            Akin Gump Strauss Hauer & Feld LLP
                                               Houston, TX 77077-3861              2300 N. Field Street, Suite 1800
                                                                                   Dallas, TX 75201-4675

PQPR Holdings Limited, LLC                     Reeves Law, PLLC                    Reynal Law Firm, P.C.
c/o Streusand Landon Ozburn & Lemmon LLP       702 Rio Grande St., Ste. 203        917 Franklin St., Suite 600
attn: Stephen Lemmon                           Austin, TX 78701-2720               Houston, TX 77002-1764
1801 S. Mopac Expressway
Suite 320
Austin, TX 78746-9817
Security Bank of Crawford                      Shannon & Lee LLP                   Texas Comptroller of Public Accounts, Revenu
P.O. BOx 90                                    700 Milam Street, STE 1300          Christopher J. Dylla
Crawford, Tx 76638-0090                        Houston, TX 77002-2736              P.O. Box 12548
                                                                                   Austin, TX 78711-2548


Texas Comptroller of Public Accounts, Revenu   Travis County                       US Trustee
Kimberly A. Walsh                              c/o Jason A. Starks                 Office of the US Trustee
PO Box 12548                                   P.O. Box 1748                       515 Rusk Ave
Austin, TX 78711-2548                          Austin, TX 78767-1748               Ste 3516
                                                                                   Houston, TX 77002-2604

4                                              ADP Total Source Insurance          ADP TotalSource Payroll
United States Bankruptcy Court                 10200 Sunset Drive                  10200 Sunset Drive
PO Box 61010                                   Miami, FL 33173-3033                Miami, FL 33173-3033
Houston, TX 77208-1010


AT&T                                           AWIO Web Services LLC               Addshoppers, Inc
PO Box 5001                                    6608 Truxton Ln                     222 S. Church Street , #410M
Carol Stream, IL 60197-5001                    Raleigh, NC 27616-6694              Charlotte, NC 28202-3213



Airco Mechanical, LTD                          Alex E. Jones                       Alex Emeric Jones
PO Box 1598                                    c/o Jordan & Ortiz, P.C.            c/o Jordan & Ortiz, P.C.
Round Rock, TX 78680-1598                      Attn: Shelby Jordan                 Attention: Shelby Jordan
                                               500 North Shoreline Blvd, STE 900   500 N. Shoreline Blvd., Suite 900
                                               Corpus Christi, TX 78401-0658       Corpus Christi, TX 78401-0658

Ally Auto                                      Amazon Marketplace                  Amazon Web Services
PO Box 9001948                                 Amazon Payments, Inc.               410 Terry Avenue North
Louisville, KY 40290-1948                      410 Terry Ave N.                    Seattle, WA 98109-5210
                                               Seattle, WA 98109-5210
                          Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 5 of 20
American Express                            American Media/Reality Zone             Andrews, Christopher
PO Box 650448                               PO Box 4646                             210 N. Beyer Stree
Dallas, TX 75265-0448                       Thousand Oaks, CA 91359-1646            Marion, TX 78124-4014



Atomial, LLC                                Auriam Services, LLC                    Balcones Recycling Inc.
1920 E. Riverside Drive                     c/o Lynn Hamilton Butler                PO Box 679912
Suite A-120 #124                            Husch Blackwell LLP                     Dallas, TX 75267-9916
Austin, TX 78741-1350                       111 Congress Avenue, Suite 1400
                                            Austin, TX 78701-4093

Biodec, LLC                                 Blott, Jacquelyn                        Brennan Gilmore
901 S. Mopac Expressway, Building 4, Ste    200 University Boulevard                c/o Civil Rights Clinic
Austin, TX 78746-5776                       Suite 225 #251                          ATTN: Andrew Mendrala
                                            Round Rock TX 78665-1096                600 New Jersey Avenue, NW
                                                                                    Washington, DC 20001-2022

Campco                                      Carlee Soto Parisi                      Carlee Soto Parisi
4625 W. Jefferson Blvd                      c/o Kyle Kimpler                        c/o Ryan Chapple
Los Angeles, CA 90016-4006                  Paul Weiss Rifkind Wharton & Garrison   303 Colorado Street, Suite 2850
                                            1285 Avenue of the Americas             Austin TX 78701-0137
                                            New York, NY 10019-6031

Carlos M. Soto                              Carlos Soto                             Chelsea Green Publishing
c/o Kyle Kimpler                            c/o Ryan Chapple                        85 North Main Street Ste 120
Paul Weiss Rifkind Wharton & Garrison       303 Colorado Street, Ste. 2850          White River Junction, VT 05001-7135
1285 Avenue of the Americas                 Austin, TX 78701-0137
New York, NY 10019-6031

Christopher Sadowski                        (p)CITY OF AUSTIN AUSTIN ENERGY         Cloudflare, Inc
c/o Copycat Legal PLLC                      ATTN COLLECTIONS DEPARTMENT             Dept LA 24609
3111 N. University Drive Ste. 301           4815 MUELLER BLVD                       Pasadena, CA 91185-4609
Coral Springs, FL 33065-5058                AUSTIN TX 78723-3573


Comptroller of Public Accounts              Constant Contact, Inc.                  CustomTattoNow.com
C/O Office of the Attorney General          1601 Trapelo Road                       16107 Kensington Dr #172
Bankruptcy - Collections Division MC-008    Watham, MA 02451-7357                   Sugar Land, TX 77479-4224
PO Box 12548
Austin TX 78711-2548

David Icke Books Limited                    David Wheeler                           David Wheeler
c/o Ickonic Enterprises Limited             c/o Kyle Kimpler                        c/o Ryan Chapple
St. Helen’s House King Street               Paul Weiss Rifkind Wharton & Garrison   303 Colorado Street, Suite 2850
Derby DE1 3EE                               1285 Avenue of the Americas             Austin TX 78701-0137
United Kingdom                              New York, NY 10019-6031

(p)DE LAGE LANDEN FINANCIAL                 Deese, Stetson                          DirectTV
ATTN LITIGATION & RECOVERY                  328 Greenland Blvd. #81                 PO Box 5006
1111 OLD EAGLE SCHOOL ROAD                  Death Valley, CA 92328-9600             Carol Stream, IL 60197-5006
WAYNE PA 19087-1453


Dona Soto                                   Donna Soto                              EPS, LLC
c/o Ryan Chapple                            c/o Kyle Kimpler                        17350 State Hwy 249, Ste 220, #4331
303 Colorado Street, Suite 2850             Paul Weiss Rifkind Wharton & Garrison   Houston, TX 77064-1132
Austin TX 78701-0137                        1285 Avenue of the Americas
                                            New York, NY 10019-6031
                           Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 6 of 20
ERM Protect                                  Edgecast, Inc.                          Elevated Solutions Group
800 South Douglas Road, Suite 940N           Dept CH 18120                           28 Maplewood Drive
Coral Gables, FL 33134-3125                  Palatine, IL 60055-0001                 Cos Cob, CT 06807-2601



Erica L. Ash                                 Erica L. Ash                            Erica Lafferty
c/o Rosemarie Paine                          c/o Ryan Chapple                        c/o Joseph Mirrione
350 Orange Street                            Cain & Skarnulis PLLC                   27 Elm Street
New Haven, CT 06511-6447                     303 Colorado St., Suite 2850            New Haven, CT 06510-2087
                                             Austin, Texas 78701-0137

Estate of Marcel Fontaine                    FW Robert Broadcasting Co               Francine Wheeler
Chamberlain Hrdlicka                         2730 Loumor Ave                         c/o Kyle Kimpler
attn? Jarrod B. Martin                       Metairie, LA 70001-5425                 Paul Weiss Rifkind Wharton & Garrison
1200 Smith, Suite 1400                                                               1285 Avenue of the Americas
Houston TX 77002-4496                                                                New York, NY 10019-6031

Francine Wheeler                             Frost Insurance Agency                  Gabriela Tolentino
c/o Ryan Chapple                             401 Congress Avenue, 14th Floor         5701 S Mopac Expy
303 Colorado Street                          Austin ,TX 78701-3793                   Austin, TX 78749-1464
Suite 2850
Austin, TX 78701-0137

Getty Images, Inc                            Gracenote                               Greenair, Inc
PO Box 953604                                29421 Network Place                     23569 Center Ridge Road
St. Louis, MO 63195-3604                     Chicago, IL 60673-1294                  Westlake, OH 44145-3642



Haivision Network Video                      Ian Hockley                             Ian Hockley
Deot CH 19848                                Ryan Chapple                            c/o Kyle Kimpler
Palatine, IL 60055-9848                      303 Colorado Street                     Paul Weiss Rifkind Wharton & Garrison
                                             Suite 2850                              1285 Avenue of the Americas
                                             Austin, TX 78701-0137                   New York, NY 10019-6031

Impact Fire Services, LLC                    Independent Publishers Group            Iron Mountain, Inc
PO Box 735063                                PO Box 2154                             PO Box 915004
Dallas, TX 75373-5063                        Bedford Park, IL 60499-2154             Dallas, TX 75391-5004



JCE SEO                                      JW JIB Productions, LLC                 Jacqueline Barden
6101 Broadway                                2921 Carvelle Drive                     c/o Kyle Kimpler
San Antonio, TX 78209-4561                   Riviera Beach, FL 33404-1855            Paul Weiss Rifkind Wharton & Garrison
                                                                                     1285 Avenue of the Americas
                                                                                     New York, NY 10019-6031

Jacqueline Barden                            Jennifer Hensel                         Jennifer Hensel
c/o Ryan Chapple                             c/o Kyle Kimpler                        c/o Ryan Chapple
303 Colorado Street, Suite 2850              Paul Weiss Rifkind Wharton & Garrison   303 Colorado Street, Suite 2850
Austin TX 78701-0137                         1285 Avenue of the Americas             Austin TX 78701-0137
                                             New York, NY 10019-6031

Jeremy Richman                               Jillian Soto-Marino                     Jillian Soto-Marino
c/o Koskoff Koskoff & Bieder                 c/o Kyle Kimpler                        c/o Ryan Chapple
350 Fairfield Ave                            Paul Weiss Rifkind Wharton & Garrison   303 Colorado Street, Suite 2850
Bridgeport, CT 06604-6014                    1285 Avenue of the Americas             Austin TX 78701-0137
                                             New York, NY 10019-6031
                           Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 7 of 20
Jonathan Bowne                               Justin Lair                       KI4U.com
2311 Balboa Road                             1313 Lookout Ave                  212 Oil Patch Lane
Austin, Texas 78733-1213                     Klamath Falls, OR 97601-6533      Gonzales, TX 78629-8028



LIT Industrial                               Larry Klayman, Esq.               Leonard Pozner
1717 McKinney Ave #1900                      7050 W. Palmetto Park Rd          c/o Chamberlain Hrdlicka
Dallas, TX 75202-1253                        Boca Raton, FL 33433-3426         attn: Jarrod B. Martin
                                                                               1200 Smith, Suite 1400
                                                                               Houston TX 77002-4496

Lincoln-Remi Group, LLC                      Logo It, LLC                      Lumen/Level 3 Communications
1200 Benstein Rd.                            820 Tivy Street                   PO Box 910182
Commerce Twp., MI 48390-2200                 Kerrville, TX 78028-3654          Denver, CO 80291-0182



MRJR Holdings, LLC                           MVD Entertainment Group           Magento
PO Box 27740                                 203 Windsor Rd                    PO Box 204125
Las Vegas, NV 89126-7740                     Pottstown, PA 19464-3405          Dallas, TX 75320-4105



Mark Barden                                  Mark Barden                       Microsoft Bing Ads
c/o Kyle Kimpler                             c/o Ryan Chapple                  c/o Microsoft Online, Inc.
Paul Weiss Rifkind Wharton & Garrison        303 Colorado Street, Suite 2850   P.O. Box 847543
1285 Avenue of the Americas                  Austin Tx 78701-0137              1950 N Stemmons Fwy, Ste 5010
New York, NY 10019-6031                                                        Dallas, TX 75207-3199

Miller, Sean                                 Music Videos Distributors         Neil Heslin
PO Box 763                                   203 Windsor Rd                    c/o Chamberlain Hrdlicka
Wyalusing, PA 18853-0763                     Pottstown, PA 19464-3405          Attn: Jarrod B. Martin
                                                                               1200 Smith, Suite 1400
                                                                               Houston TX 77002-4496

NetSuite Inc                                 New Relic                         Newegg.com
Bank of America Lockbox Services             188 Spear Street, Suite 1200      9997E. Rose Hills Road
Chicago, IL 60693-0001                       San Francisco, CA 94105-1752      Whittier, CA 90601-1701



Nicole Hockley                               Nicole Hockley                    One Party America, LLC
c/o Kyle Kimpler                             c/o Ryan Chapple                  6700 Woodlands Parkway, Suite 230-309
Paul Weiss Rifkind Wharton & Garrison        303 Colorado Street, Suite 2850   The Woodlands, TX 77382-2575
1285 Avenue of the Americas                  Austin TX 78701-0137
New York, NY 10019-6031

Orkin, Inc.                                  PQPR Holdings Limited, LLC        Pattison Law Firm, P.C.
5810 Trade Center Drive, Suite 300           c/o Stephen Lemmon                501 IH-35
Austin, TX 78744-1365                        1801 S. Mopac Expressway          Austin, TX 78702-3201
                                             Suite 320
                                             Austin, TX 78746-9817

Payarc                                       Paymentus                         Paz Law, LLC
411 West Putnam Avenue, Ste 340              18390 NE 68th St                  1021 Orange Center Road
Greenwich, CT 06830-6233                     Redmond, WA 98052-5057            Orange, CT 06477-1216
                           Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 8 of 20
Percision Oxygen                             Perfect Imprints.com                  Perkins, Wes
13807 Thermal Dr                             709 Eglin Pkwy NE                     General Delivery
Austin, TX 78728-7735                        Fort Walton Beach, FL 32547-2527      Lockhart, TX 78644-9999



Pipe Hitters Union, LLC                      Post Hill Press, LLC                  Poulsen, Debra
PO Box 341194                                8115 Isabella Lane, Ste. 4            112 Eames St.
Austin, TX 78734-0020                        Brentwood, TN 37027-9110              Elkhorn, WI 53121-1228



Power Reviews, Inc.                          Precision Camera                      Private Jets, LLC
1 N. Dearborn Street                         2438 W Anderson Ln                    1250 E. Hallandale Beach Blvd, Suite 505
Chicago, IL 60602-4331                       Austin, TX 78757-1149                 Hallandale, FL 33009-4635



Protection 1 Alarm                           Public Storage                        Pullman & Comley, LLC
PO Box 219044                                2301 E. Ben White Blvd                850 Main Street
Kansas City, MO 64121-9044                   Austin, TX 78741-7110                 Bridgeport, CT 06604-4988



Randazza Legal Group, PLLC                   RatsMedical.com                       Ready Alliance Group, Inc
2764 Lake Sahara Drive, Suite 109            c/o Rapid Medical                     PO Box 1709
Las Vegas, NV 89117                          120 N Redwood Rd                      Sandpoint, ID 83864-0901
702-420-2001                                 North Salt Lake, UT 84054-2792
ecf@randazza.com 89117-3400

Reeves Law, PLLC                             Renaissance                           Restore America
Attn: Bradley Reeves                         PO Box 8036                           PO Box 147
702 Rio Grande St., Suite 203                Wisconsin Rapids, WI 54495-8036       Grimsley, TN 38565-0147
Austin, TX 78701-2720


Richard Coan,                                Robert Parker                         Robert Parker
Chapter 7 Trustee for Debtor, Erica Laff     c/o Ryan Chapple                      c/o Kyle Kimpler
c/o Eric Henzy                               303 Colorado Street, Suite 2850       Paul Weiss Rifkind Wharton & Garrison
10 Middle Street                             Austin TX 78701-0137                  1285 Avenue of the Americas
Bridgeport, CT 06604-4257                                                          New York, NY 10019-6031

SLNT                                         Scarlett Lewis                        Security Bank of Crawford
30 N Gould St, Ste 20647                     c/o Chamberlain Hrdlicka              6688 North Lone Star Parkway
Sheridan, WY 82801-6317                      Attn: Jarrod B. Martin                PO Box 90
                                             1200 Smith, Suite 1400                Crawford, TX 76638-0090
                                             Houston TX 77002-4496

Simon & Schuster                             SintecMedia NYC, Inc. DBA Operative   Skousen, Joel
PO Box 70660                                 PO Box 200663                         PO Box 565
Chicago, IL 60673-0660                       Pittsburgh, PA 15251-2662             Spring City, UT 84662-0565



Skyhorse Publishing                          Sparkletts & Sierra Springs           Spectrum Enterprise aka Time Warner Cable
307 West 36th Street, 11th Floor             PO Box 660579                         1600 Dublin Road
New York, NY 10018-6592                      Dallas, TX 75266-0579                 Columbus, OH 43215-2098
                         Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 9 of 20
Stamps.com                                 Stone Edge Technologies, Inc              Stratus Technologies
1990 E Grand Ave.                          660 American Avenue, Suite 204            5 Mill & Main Place, Suite 500
El Segundo, CA 90245-5013                  King of Prussia, PA 19406-4032            Maynard, MA 01754-2660



Studio 2426, LLC                           Synergy North America, Inc                TD Canada Trust
1920 E. Riverside Drive, Suite A120, ï¿½     11001 W. 120th Avenue, Suite 400          421 7th Avenue SW
Austin, TX 78741-1350                      Broomfield, CO 80021-3493                 Calgary, AB T2P 4K9, Canada



Texas Comptroller                          Texas Disposal Systems, Inc               Texas Gas Service
PO Box 13003                               PO Box 674090                             PO Box 219913
Austin, TX 78711-3003                      Dallas, TX 75267-4090                     Kansas City, MO 64121-9913



Textedly                                   The Creative Group                        The Hartford
133 N. Citrus Ave., Suite 202              c/o Robert Half                           PO Box 14219
Los Angeles, CA 90036                      2884 Sand Hill Road, Ste 200              Lexington, KY 40512-4219
                                           Menlo Park, CA 94025-7072


The Steam Team, Inc                        Third Coast Graphics, Inc                 Thomas, David
1904 W. Koeing Lane                        110 Del Monte Dr.                         79 Malone Hill Road
Austin, TX 78756-1211                      Friendswood, TX 77546-4487                Elma, WA 98541-9206



Travelers                                  Travis County                             Travis County c/o Jason A. Starks
PO Box 660317                              PO Box 149328                             PO Box 1748
Dallas, TX 75266-0317                      Austin, TX 78714-9328                     Austin, Texas 78767-1748



U.S. Legal Support                         Uline Shipping Supply                     Vazquez, Valdemar Rodriguez
PO Box 4772                                12575 Uline Drive                         145 Quail Ridge Drive
Houston, TX 77210-4772                     Pleasant Prarie, WI 53158-3686            Kyle TX 78640-9788



Verizon                                    Verizon Edgecast                          Veronique De La Rosa
PO Box 660108                              13031 West Jefferson Blvd, Building 900   c/o Chamberlain Hrdlicka
Dallas, TX 75266-0108                      Los Angeles, CA 90094-7002                attn: Jarrod B. Martin
                                                                                     1200 Smith, Suite 1400
                                                                                     Houston TX 77002-4496

Vultr                                      WMQM-AM 1600                              WWCR
14 Cliffwood Avenue, Suite 300             21 Stephen Hill Road                      1300 WWCR Avenue
Matawan, NJ 07747-3931                     Atoka, TN 38004-7183                      Nashville, TN 37218-3800



Waste Connections Lone Star, Inc.          Water Event - Pure Water Solutions        Watson, Paul
PO Box 17608                               1310 Missouri St                          9 Riverdale Road
Austin, TX 78760-7608                      South Houston, TX 77587-4537              Ranmoor Sheffield
                                                                                     South Yorkshire S10 3FA
                                                                                     United Kingdom
                          Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 10 of 20
Westwood One, LLC                           William Aldenberg                       William Aldenberg
3542 Momentum Place                         c/o Kyle Kimpler                        c/o Ryan Chapple
Chicago, IL 60689-5335                      Paul Weiss Rifkind Wharton & Garrison   303 Colorado Street, Ste 2850
                                            1285 Avenue of the Americas             Austin, TX 78701-0137
                                            New York, NY 10019-6031

William Sherlach                            William Sherlach                        Willow Grove Productions
c/o Kyle Kimpler                            c/o Ryan Chapple                        1810 Rockcliff Road
Paul Weiss Rifkind Wharton & Garrison       303 Colorado Stret, Suite 2850          Austin, TX 78746-1215
1285 Avenue of the Americas                 Austin TX 78701-0137
New York, NY 10019-6031

Wisconsin Dept of Revenue                   Wisconsin Dept. of Revenue              Your Promtional Products, LLC
Special Procedures Unit                     PO Box 3028                             133 North Friendswood STE 186
POB 8901                                    Milwaukee, WI 53201-3028                Friendswood, TX 77546-3746
Madison, WI 53708-8901


Zendesk, Inc                                Zoom US                                 eBay
989 Market Street                           55 Almaden Blvd, 6th Floor              2025 Hamilton Avenue
San Francisco, CA 94103-1708                San Jose, CA 95113-1608                 San Jose, CA 95125-5904



eCommerce CDN, LLC                          mongoDB Cloud                           Alex E Jones
221 E 63rd Street                           1633 Broadway                           c/o Jordan & Ortiz PC
Savannah, GA 31405-4226                     39th Floor                              500 N Shoreline Blvd
                                            New York, NY 10019-6757                 Ste 900
                                                                                    Corpus Christi, TX 78401-0658

Annie E Catmull                             Christina Walton Stephenson             Christopher R Murray
O’ConnorWechsler PLLC                       Crowe & Dunlevy                         Jones Murray LLP
4400 Post Oak Parkway                       2525 McKinnon St.                       602 Sawyer St
Ste. 2360                                   Ste 425                                 Ste 400
Houston, TX 77027-3440                      Dallas, TX 75201-1543                   Houston, TX 77007-7510

David Wheeler, et al.                       Erica L. Ash                            Jonathan Bowne
c/o Cain & Skarnulis PLLC                   c/o Cain & Skarnulis PLLC               2311 Balboa Road
303 Colorado Street                         303 Colorado Street                     Houston, TX 78733-1213
Suite 2850                                  Suite 2850
Austin, TX 78701-0137                       Austin, TX 78701-0137

Kathleen A. O’Connor                        Kyung Shik Lee                          Kyung Shik Lee
O’ConnorWechsler PLLC                       Kyung S. Lee PLLC                       Shannon & Lee LLP
4400 Post Oak Parkway                       4723 Oakshire Drive                     Pennzoil Place-Suite 1300
Ste 2360                                    Apt. B                                  HOUSTON, TX 77027 United States
Houston, TX 77027-3440                      Houston, TX 77027-5499

Leonard Pozner                              Marcel Fontaine                         Melissa A Haselden
c/o McDowell Hetherington LLP               c/o McDowell Hetherington LLP           Haselden Farrow PLLC
Attention: Avi Moshenberg                   Attention: Avi Moshenberg               Pennzoil Place
1001 Fannin Street                          1001 Fannin                             700 Milam
Suite 2700                                  Suite 2700                              Suite 1300
Houston, TX 77002-6774                      Houston, TX 77002-6774                  Houston, TX 77002-2736
Neil Heslin                                 R. J. Shannon                           Ray Battaglia
c/o McDowell Hetherington LLP               Shannon & Lee LLP                       66 Granburg Circle
Attention: Avi Moshenberg                   2100 Travis Street, STE 1525            San Antonio, TX 78218-3010
1001 Fannin Street                          Houston, TX 77002-8783
Suite 2700
Houston, TX 77002-6774
                         Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 11 of 20
Raymond William Battaglia                              Richard M. Coan                                      Scarlett Lewis
Law Offices of Ray Battaglia, PLLC                     c/o Cain & Skarnulis PLLC                            c/o McDowell Hetherington LLP
66 Granburg Circle                                     303 Colorado Street                                  Attention: Avi Moshenberg
San Antonio, TX 78218-3010                             Suite 2850                                           1001 Fannin Street
                                                       Austin, TX 78701-0137                                Suite 2700
                                                                                                            Houston, TX 77002-6774
Shelby A Jordan                                        Veronique De La Rosa
                                                       c/o McDowell Hetherington LLP
                                                       Attention: Avi Moshenberg
                                                       1001 Fannin Street
                                                       Suite 2700
                                                       Houston, TX 77002-6774


                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


City of Austin                                         De Lage Landen Financial Services, Inc.              (d)Konica Minolta Premier Finance
c/o Austin Energy                                      1111 Old Eagle School Road                           PO Box 41602
 4815 Mueller Blvd.                                    Wayne, PA 190087                                     Philadelphia, PA 19101-1602
Austin, TX 78723




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ADP TotalSource, Inc.                               (u)Akin Gump Strauss Hauer & Feld LLP                (u)Cicack Holdings, LLC




(u)O’ConnorWechsler PLLC                               (u)Public Storage                                    (u)Schwartz Associates, LLC




(u)Schwartz and Associates, LLC                        (u)Sweetwater Holdings Group, Inc.                   (u)The Law Office of Liz Freeman




(d)Ally Bank c/o AIS Portfolio Services, LLC           (d)American Express National Bank                    (u)Resistance Manifesto
4515 N. Santa Fe Ave. Dept. APS                        c/o Becket and Lee LLP
Oklahoma City, OK 73118-7901                           PO Box 3001
                                                       Malvern PA 19355-0701


(u)Annie Catmull                                       (u)Charles Charlie Cicack                            (u)David Ross Jones
                   Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 12 of 20
(u)Marc Schwartz                     (u)W. Marc Schwartz                End of Label Matrix
                                                                        Mailable recipients   214
                                                                        Bypassed recipients    17
                                                                        Total                 231
                          Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 13 of 20
Label Matrix for local noticing             Ally Bank                                   Ally Bank, c/o AIS Portfolio Services, LLC
0541-4                                      c/o Quilling, Selander, et al               4515 N Santa Fe Ave. Dept. APS
Case 22-33553                               2001 Bryan Street                           Oklahoma City, OK 73118-7901
Southern District of Texas                  Suite 1800
Houston                                     Dallas, TX 75201-3070
Wed Aug 21 20:24:12 CDT 2024
American Express National Bank              Bank of America N.A.                        Crowe & Dunlevy
c/o Becket and Lee LLP                      P.O. BOX 31785                              2525 McKinnon St
PO Box 3001                                 Tampa, FL 33631-3785                        Suite 425
Malvern, PA 19355-0701                                                                  Dallas, TX 75201-1543


Elevated Solutions Group, LLC               Free Speech Systems, LLC                    Jones Murray LLP
c/o Walker & Patterson, P.C.                Free Speech Systems, LLC                    602 Sawyer Suite 400
P.O. Box 61301                              c/o Patrick Magill                          Houston, Tx 77007-7510
Houston, TX 77208-1301                      3019 Alvin Devane Blvd.
                                            Ste 300
                                            Austin,, TX 78741-7417
Martin, Disiere, Jefferson & Wisdom, LLP    Official Committee Of Unsecured Creditors   PQPR Holdings Limited, LLC
808 Travis, Suite 1100                      c/o Marty L. Brimmage, Jr.                  c/o Streusand Landon Ozburn & Lemmon LLP
Houston, TX 77002-5831                      Akin Gump Strauss Hauer & Feld LLP          attn: Stephen Lemmon
                                            2300 N. Field Street, Suite 1800            1801 S. Mopac Expressway
                                            Dallas, TX 75201-4675                       Suite 320
                                                                                        Austin, TX 78746-9817
Reeves Law, PLLC                            Reynal Law Firm, P.C.                       Security Bank of Texas
702 Rio Grande St., Suite 203               917 Franklin St., Suite 600                 P.O. Box 90
Austin, TX 78701-2720                       Houston, TX 77002-1764                      Crawford, Tx 76638-0090



Travis County                               4                                           ADP Total Source Insurance
c/o Jason A. Starks                         United States Bankruptcy Court              10200 Sunset Drive
P.O. Box 1748                               PO Box 61010                                Miami, FL 33173-3033
Austin, TX 78767-1748                       Houston, TX 77208-1010


ADP TotalSource Payroll                     AT&T                                        AWIO Web Services LLC
10200 Sunset Drive                          PO Box 5001                                 6608 Truxton Ln
Miami, FL 33173-3033                        Carol Stream, IL 60197-5001                 Raleigh, NC 27616-6694



Addshoppers, Inc                            Airco Mechanical, LTD                       Alex E. Jones
222 S. Church Street , #410M                PO Box 1598                                 c/o Crowe & Dunlevy, PC
Charlotte, NC 28202-3213                    Round Rock, TX 78680-1598                   Attn: Vickie L. Driver
                                                                                        2525 McKinnon Street, Ste 425
                                                                                        Dallas, TX 75201-1543

Alex E. Jones                               Ally Auto                                   Amazon Marketplace
c/o Jordan & Ortiz, PC                      PO Box 9001948                              Amazon Payments, Inc.
Attn: Shelby Jordan                         Louisville, KY 40290-1948                   410 Terry Ave N.
500 North Shoreline Blvd, Ste 900                                                       Seattle, WA 98109-5210
Corpus Christi, TX 78401-0658

Amazon Web Services                         American Express                            American Media/Reality Zone
410 Terry Avenue North                      PO Box 650448                               PO Box 4646
Seattle, WA 98109-5210                      Dallas, TX 75265-0448                       Thousand Oaks, CA 91359-1646
                        Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 14 of 20
Andrews, Christopher                      Atomial, LLC                          Balcones Recycling Inc.
210 N. Beyer Street                       1920 E. Riverside Drive               PO Box 679912
Marion, TX 78124-4014                     Suite A-120 #124                      Dallas, TX 75267-9916
                                          Austin, TX 78741-1350


Biodec, LLC                               Blott, Jacquelyn                      Brennan Gilmore
901 S. Mopac Expressway,                  200 University Boulevard              c/o Civil Rights Clinic
Building 4, Ste 285                       Suite 225 #251                        Attn Andrew Mendrala
Austin, TX 78746-5776                     Round Rock TX 78665-1096              600 New Jersey Avenue, NW
                                                                                Washington, DC 20001-2022

Campco                                    Carlee Soto-Parisi                    Carlos Soto
4625 W. Jefferson Blvd                    c/o Ryan Chapple                      c/o Ryan Chapple
Los Angeles, CA 90016-4006                Cain & Skarnulis                      Cain & Skarnulis
                                          303 Colorado Street, Ste 2850         303 Colorado Street, Ste 2850
                                          Austin, TX 78701-0137                 Austin, TX 78701-0137

Chamberlain Hrdlicka White et al          Chelsea Green Publishing              Christopher Sadowski
Attn Jarrod B. Martin                     85 North Main Street Ste 120          c/o Copycat Legal PLLC
1200 Smith Street, Ste 1400               White River Junction, VT 05001-7135   3111 N. University Drive Ste. 301
Houston, TX 77002-4496                                                          Coral Springs, FL 33065-5058


City of Austin                            Cloudflare, Inc                       Constant Contact, Inc.
c/o Austin Energy                         Dept LA 24609                         1601 Trapelo Road
4815 Muller                               Pasadena, CA 91185-4609               Watham, MA 02451-7357
Austin, TX 78723


CustomTattooNow.com                       David Icke Books Limited              De Lage Financial
16107 Kensington Dr #172                  c/o Ickonic Enterprises Limited       Attn Litigation & Recovery
Sugar Land, TX 77479-4224                 St. Helen’s House King Street         111 Old Eagle School Road
                                          Derby DE1 3EE                         Wayne, PA 19087-1453
                                          United Kingdom

Deese, Stetson                            DirectTV                              Donna Soto
328 Greenland Blvd. #81                   PO Box 006                            c/o Ryan Chapple
Death Valley, CA 92328-9600               Carol Stream, IL 60197                Cain & Skarnulis
                                                                                303 Colorado Street, Ste 2850
                                                                                Austin, TX 78701-0137

EPS, LLC                                  ERM Protect                           Edgecast, Inc.
17350 State Hwy 249, Ste 220, #4331       800 South Douglas Road, Suite 940N    Dept CH 18120
Houston, TX 77064-1132                    Coral Gables, FL 33134-3125           Palatine, IL 60055-0001



Elevated Solutions Group                  Erica L. Ash                          Erica Lafferty
28 Maplewood Drive                        c/o Ryan Chapple                      c/o Rosemarie Paine
Cos Cob, CT 06807-2601                    Cain & Skarnulis PLLC                 350 Orange Street
                                          303 Colorado St., Suite 2850          New Haven, CT 06511-6447
                                          Austin, Texas 78701-0137

Erica Lafferty                            FW Robert Broadcasting Co             Francine Wheeler
c/o Ryan Chapple                          2730 Loumor Ave                       c/o Ryan Chapple
Cain & Skarnulis                          Metairie, LA 70001-5425               Cain & Skarnulis
303 Colorado Street, Ste 2850                                                   303 Colorado Street, Ste 2850
Austin, TX 78701-0137                                                           Austin, TX 78701-0137
                          Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 15 of 20
Free Speech Systems, LLC                    Frost Insurance Agency              Gabriela Tolentino
3019 Alvin Devane, Suite 350                401 Congress Avenue, 14th Floor     5701 S Mopac Expy
Austin, Texas 78741-7424                    Austin ,TX 78701-3793               Austin, TX 78749-1464



Getty Images, Inc                           Gracenote                           Greenair, Inc
PO Box 953604                               29421 Network Place                 23569 Center Ridge Road
St. Louis, MO 63195-3604                    Chicago, IL 60673-1294              Westlake, OH 44145-3642



Haivision Network Video                     Ian Hockley                         Impact Fire Services, LLC
Deot CH 19848                               c/o Ryan Chapple                    PO Box 735063
Palatine, IL 60055-9848                     Cain & Skarnulis                    Dallas, TX 75373-5063
                                            303 Colorado Street, Ste 2850
                                            Austin, TX 78701-0137

Independent Publishers Group                Internal Revenue Service            Iron Mountain, Inc
PO Box 2154                                 Centralized Insolvency Operations   PO Box 915004
Bedford Park, IL 60499-2154                 PO Box 7346                         Dallas, TX 75391-5004
                                            Philadelphia, PA 19101-7346


JCE SEO                                     JW JIB Productions, LLC             Jacqueline Barden
6101 Broadway                               2921 Carvelle Drive                 c/o Ryan Chapple
San Antonio, TX 78209-4561                  Riviera Beach, FL 33404-1855        Cain & Skarnulis
                                                                                303 Colorado Street, Ste 2850
                                                                                Austin, TX 78701-0137

Jennifer Hensel                             Jeremy Richman                      Jillian Soto-Marino
c/o Ryan Chapple                            c/o Koskoff Koskoff & Bieder        c/o Ryan Chapple
Cain & Skarnulis                            350 Fairfield Ave                   Cain & Skarnulis
303 Colorado Street, Ste 2850               Bridgeport, CT 06604-6014           303 Colorado Street, Ste 2850
Austin, TX 78701-0137                                                           Austin, TX 78701-0137

Justin Lair                                 KI4U.com                            Kaster Lynch Farrar & Ball
1313 Lookout Ave                            212 Oil Patch Lane                  Attn Mark D. Bankston
Klamath Falls, OR 97601-6533                Gonzales, TX 78629-8028             1117 Herkimer
                                                                                Houston, TX 77008-6745


(p)DE LAGE LANDEN FINANCIAL                 Koskoff Koskoff & Bieder            LIT Industrial
ATTN LITIGATION & RECOVERY                  Attn Alinor C. Sterling             1717 McKinney Ave #1900
1111 OLD EAGLE SCHOOL ROAD                  350 Fairfield Ave                   Dallas, TX 75202-1253
WAYNE PA 19087-1453                         Bridgeport, CT 06604-6002


Leonard Pozner                              Lincoln-Remi Group, LLC             Logo It, LLC
c/o Avi Moshenberg                          1200 Benstein Rd.                   820 Tivy Street
McDowell Hetherington                       Commerce Twp., MI 48390-2200        Kerrville, TX 78028-3654
1001 Fannin Street, Ste 2700
Houston, TX 77002-6774

Lumen/Level 3 Communications                MRJR Holdings, LLC                  MVD Entertainment Group
PO Box 910182                               PO Box 27740                        203 Windsor Rd
Denver, CO 80291-0182                       Las Vegas, NV 89126-7740            Pottstown, PA 19464-3405
                        Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 16 of 20
Magento                                   Mark Barden                             Microsoft Bing Ads
PO Box 204125                             c/o Ryan Chapple                        c/o Microsoft Online, Inc.
Dallas, TX 75320-4105                     Cain & Skarnulis                        P.O. Box 847543
                                          303 Colorado Street, Ste 2850           1950 N Stemmons Fwy, Ste 5010
                                          Austin, TX 78701-0137                   Dallas, TX 75207-3199

Miller, Sean                              Music Videos Distributors               Neil Heslin
PO Box 763                                203 Windsor Rd                          c/o Avi Moshenberg
Wyalusing, PA 18853-0763                  Pottstown, PA 19464-3405                McDowell Hetherington
                                                                                  1001 Fannin Street, Ste 2700
                                                                                  Houston, TX 77002-6774

NetSuite Inc                              New Relic                               Newegg.com
Bank of America Lockbox Services          188 Spear Street, Suite 1200            9997E. Rose Hills Road
Chicago, IL 60693-0001                    San Francisco, CA 94105-1752            Whittier, CA 90601-1701



Nicole Hockley                            One Party America, LLC                  Orkin, Inc.
c/o Ryan Chapple                          6700 Woodlands Parkway, Suite 230-309   5810 Trade Center Drive, Suite 300
Cain & Skarnulis                          The Woodlands, TX 77382-2575            Austin, TX 78744-1365
303 Colorado Street, Ste 2850
Austin, TX 78701-0137

PQPR Holdings Limited, LLC                Payarc                                  Paymentus
c/o Stephen Lemmon                        411 West Putnam Avenue, Ste 340         18390 NE 68th St
1801 S. Mopac Expressway                  Greenwich, CT 06830-6233                Redmond, WA 98052-5057
Suite 320
Austin, TX 78746-9817

Perfect Imprints.com                      Perkins, Wes                            Pipe Hitters Union, LLC
709 Eglin Pkwy NE                         General Delivery                        PO Box 341194
Fort Walton Beach, FL 32547-2527          Lockhart, TX 78644-9999                 Austin, TX 78734-0020



Post Hill Press, LLC                      Poulsen, Debra                          Power Reviews, Inc.
8115 Isabella Lane, Ste. 4                112 Eames St.                           1 N. Dearborn Street
Brentwood, TN 37027-9110                  Elkhorn, WI 53121-1228                  Chicago, IL 60602-4331



Precision Oxygen                          Precision Camera                        Private Jets, LLC
13807 Thermal Dr                          2438 W Anderson Ln                      1250 E. Hallandale Beach Blvd, Suite 505
Austin, TX 78728-7735                     Austin, TX 78757-1149                   Hallandale, FL 33009-4635



Protection 1 Alarm                        Public Storage                          Randazza Legal Group, PLLC
PO Box 219044                             2301 E. Ben White Blvd                  2764 Lake Sahara Drive, Suite 109
Kansas City, MO 64121-9044                Austin, TX 78741-7110                   Las Vegas, NV 89117-3400



RatsMedical.com                           Ready Alliance Group, Inc               Reeves Law, PLLC
c/o Rapid Medical                         PO Box 1709                             Attn Bradley Reeves
120 N Redwood Rd                          Sandpoint, ID 83864-0901                702 Rio Grande St., Ste 203
North Salt Lake, UT 84054-2792                                                    Austin, TX 78701-2720
                       Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 17 of 20
Renaissance                              Restore America                       Richard Coan
PO Box 8036                              PO Box 147                            Chapter 7 Trustee for Debtor Erica Laffe
Wisconsin Rapids, WI 54495-8036          Grimsley, TN 38565-0147               c/o Eric Henry
                                                                               10 Middle Street
                                                                               Bridgeport, CT 06604-4257

Robert Parker                            SLNT                                  Scarlett Lewis
c/o Ryan Chapple                         30 N Gould St, Ste 20647              c/o Avi Moshenberg
Cain & Skarnulis                         Sheridan, WY 82801-6317               McDowell Hetherington
303 Colorado Street, Ste 2850                                                  1001 Fannin Street, Ste 2700
Austin, TX 78701-0137                                                          Houston, TX 77002-6774

Security Bank of Crawford                Simon & Schuster                      SintecMedia NYC, Inc. DBA Operative
PO Box 90                                PO Box 70660                          PO Box 200663
Crawford, TX 76638-0090                  Chicago, IL 60673-0660                Pittsburgh, PA 15251-2662



Skousen, Joel                            Skyhorse Publishing                   Sparkletts & Sierra Springs
PO Box 565                               307 West 36th Street, 11th Floor      PO Box 660579
Spring City, UT 84662-0565               New York, NY 10018-6592               Dallas, TX 75266-0579



Spectrum Enterprise                      Stamps.com                            Stone Edge Technologies, Inc
aka Time Warner Cable                    1990 E Grand Ave.                     660 American Avenue, Suite 204
1600 Dublin Road                         El Segundo, CA 90245-5013             King of Prussia, PA 19406-4032
Columbus, OH 43215-2098


Stratus Technologies                     Studio 2426, LLC                      Synergy North America, Inc
5 Mill & Main Place, Suite 500           1920 E. Riverside Drive, Suite A120   11001 W. 120th Avenue, Suite 400
Maynard, MA 01754-2660                   Austin, TX 78741-1350                 Broomfield, CO 80021-3493



TD Canada Trust                          Texas Comptroller                     Texas Disposal Systems, Inc
421 7th Avenue SW                        PO Box 13003                          PO Box 674090
Calgary, AB T2P 4K9, Canada              Austin, TX 78711-3003                 Dallas, TX 75267-4090



Texas Gas Service                        Textedly                              The Creative Group
PO Box 219913                            133 N. Citrus Ave., Suite 202         c/o Robert Half
Kansas City, MO 64121-9913               Los Angeles, CA 90036                 2884 Sand Hill Road, Ste 200
                                                                               Menlo Park, CA 94025-7072


The Estate of Marcel Fontaine            The Hartford                          The Steam Team, Inc
c/o McDowell Hetherington LLP            PO Box 14219                          1904 W. Koeing Lane
Attn Avi Moshenberg                      Lexington, KY 40512-4219              Austin, TX 78756-1211
100 Fannin, Ste 2700
Houston, TX 77002-1915

Third Coast Graphics, Inc                Thomas, David                         Travelers
110 Del Monte Dr.                        79 Malone Hill Road                   PO Box 660317
Friendswood, TX 77546-4487               Elma, WA 98541-9206                   Dallas, TX 75266-0317
                          Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 18 of 20
Travis County                               U.S. Legal Support                    U.S. Trustee’s Office
PO Box 149328                               PO Box 4772                           515 Rusk Avenue, Suite 3516
Austin, TX 78714-9328                       Houston, TX 77210-4772                Houston, Texas 77002-2604



US Trustee                                  Uline Shipping Supply                 Vazquez, Valdemar Rodriguez
Office of the US Trustee                    12575 Uline Drive                     145 Quail Ridge Drive
515 Rusk Ave                                Pleasant Prarie, WI 53158-3686        Kyle TX 78640-9788
Ste 3516
Houston, TX 77002-2604

Verizon                                     Verizon Edgecast                      Veronique De La Rosa
PO Box 660108                               13031 West Jefferson Blvd, Bldg 900   c/o Avi Moshenberg
Dallas, TX 75266-0108                       Los Angeles, CA 90094-7002            McDowell Hetherington
                                                                                  1001 Fannin Street, Ste 2700
                                                                                  Houston, TX 77002-6774

Vultr                                       WMQM-AM 1600                          WWCR
14 Cliffwood Avenue, Suite 300              21 Stephen Hill Road                  1300 WWCR Avenue
Matawan, NJ 07747-3931                      Atoka, TN 38004-7183                  Nashville, TN 37218-3800



Waste Connections Lone Star, Inc.           Water Event-Pure Water Solutions      Watson, Paul
PO Box 17608                                1310 Missouri St                      9 Riverdale Road
Austin, TX 78760-7608                       South Houston, TX 77587-4537          Ranmoor Sheffield
                                                                                  South Yorkshire S10 3FA
                                                                                  United Kingdom

Westwood One, LLC                           Wheeler, David                        William Aldenberg
3542 Momentum Place                         c/o Ryan Chapple                      c/o Ryan Chapple
Chicago, IL 60689-5335                      Cain & Skarnulis                      Cain & Skarnulis
                                            303 Colorado Street, Ste 2850         303 Colorado Street, Ste 2850
                                            Austin, TX 78701-0137                 Austin, TX 78701-0137

William Sherlach                            Willow Grove Productions              Wisconsin Dept. of Revenue
c/o Ryan Chapple                            1810 Rockcliff Road                   PO Box 3028
Cain & Skarnulis                            Austin, TX 78746-1215                 Milwaukee, WI 53201-3028
303 Colorado Street, Ste 2850
Austin, TX 78701-0137

Your Promotional Products, LLC              Zendesk, Inc                          Zoom US
133 North Friendswood Ste 186               989 Market Street                     55 Almaden Blvd, 6th Floor
Friendswood, TX 77546-3746                  San Francisco, CA 94103-1708          San Jose, CA 95113-1608



eBay                                        eCommerce CDN, LLC                    mongoDB Cloud
2025 Hamilton Avenue                        221 E 63rd Street                     1633 Broadway 39th Floor
San Jose, CA 95125-5904                     Savannah, GA 31405-4226               New York, NY 10019-6757



Alexander E. Jones                          Christina Walton Stephenson           Christopher R Murray
c/o 2525 McKinnon Street                    Crowe & Dunlevy                       Jones Murray LLP
Suite 425                                   2525 McKinnon St.                     602 Sawyer St
Dallas, TX 75201                            Ste 425                               Ste 400
                                            Dallas, TX 75201-1543                 Houston, TX 77007-7510
                       Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 19 of 20
Erica L. Ash                                         Francine Wheeler                                     Leonard Pozner
c/o Cain & Skarnulis PLLC                            Cain & Skarnulis PLLC                                c/o McDowell Hetherington LLP
303 Colorado Street                                  Ryan E. Chapple                                      Attention: Avi Moshenberg
Suite 2850                                           303 Colorado Street                                  1001 Fannin Street
Austin, TX 78701-0137                                Suite 2850                                           Suite 2700
                                                     Austin, TX 78701-0137                                Houston, TX 77002-6774
Marcel Fontaine                                      Neil Heslin                                          Richard M. Coan
c/o McDowell Hetherington LLP                        c/o McDowell Hetherington LLP                        c/o Cain & Skarnulis PLLC
Attention: Avi Moshenberg                            Attention: Avi Moshenberg                            303 Colorado Street
1001 Fannin                                          1001 Fannin Street                                   Suite 2850
Suite 2700                                           Suite 2700                                           Austin, TX 78701-0137
Houston, TX 77002-6774                               Houston, TX 77002-6774
Scarlett Lewis                                       Shelby A Jordan                                      Veronique De La Rosa
c/o McDowell Hetherington LLP                        Jordan & Ortiz, PC                                   c/o McDowell Hetherington LLP
Attention: Avi Moshenberg                            500 N Shoreline Blvd                                 Attention: Avi Moshenberg
1001 Fannin Street                                   Ste 804                                              1001 Fannin Street
Suite 2700                                           Corpus Christi, TX 78401-0335                        Suite 2700
Houston, TX 77002-6774                                                                                    Houston, TX 77002-6774
Vickie L Driver
Crowe & Dunlevy, P.C.
2525 McKinnon St.
Ste 425
Dallas, TX 75201-1543



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Konica Minolta Premier Finance
PO Box 41602
Philadelphia, PA 19101-1602




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Akin Gump Strauss Hauer & Feld LLP                (u)Public Storage                                    (d)Ally Bank
                                                                                                          c/o AIS Portfolio Services, LLC
                                                                                                          4515 N. Santa Fe Ave. Dept. APS
                                                                                                          Oklahoma City, OK 73118-7901


(d)American Express National Bank                    (d)American Express National Bank                    (d)Bank of America N.A.
c/o Becket and Lee LLP                               c/o Becket and Lee LLP                               PO Box 31785
PO Box 3001                                          PO Box 3001                                          Tampa, FL 33631-3785
Malvern PA 19355-0701                                Malvern, PA 19355-0701


(d)Free Speech Systems. LLC                          (u)Carlee Soto Parisi                                (u)Carlos M Soto
3019 Alvin Devane, Suite 350
Austin, Texas 78741-7424
                         Case 22-33553 Document 919 Filed in TXSB on 11/20/24 Page 20 of 20
(u)David Wheeler                           (u)David Ross Jones                (u)Donna Soto




(u)Ian Hockley                             (u)Jacqueline Barden               (u)Jennifer Hensel




(u)Jillian Soto-Marino                     (u)Mark Barden                     (u)Nicole Hockley




(u)Robert Parker                           (u)William Aldenberg               (u)William Sherlach




End of Label Matrix
Mailable recipients   189
Bypassed recipients    21
Total                 210
